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  /s/ Maria Aprile Sawczuk
DocuSign Envelope ID: 09BC4377-F2B3-41EF-A066-CF9840924574
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                                                       RESOLUTION
                                                             of
                                                 MOUNTAIN SPORTS LLC
                                           (a Delaware Limited Liability Company)

                                                   Effective as of June 13, 2024

                    WHEREAS, the undersigned, Roberts 50 USA LLC, a Delaware Limited Liability
             Company (“R50”), acting via the authorization of its sole Member, Bob’s EMS Holdings LLC, a
             Delaware Limited Liability Company, and acting in its capacity as the sole member of Mountain
             Sports LLC (the “Company”), has considered the financial and operational aspects of the
             Company’s business and the recommendations of the Company’s professionals and advisors, and
             adopts the following resolutions:

                     NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of R50, it is desirable and
             in the best interest of the Company, its creditors, members, and other interested parties to file a
             petition (the “Petition”) seeking relief under chapter 11 of title 11 of the United States Code (the
             “Bankruptcy Code”), Subchapter V, in the United States Bankruptcy Court for the District of
             Delaware (the “Bankruptcy Court”);

                    RESOLVED FURTHER, that David Barton (the “Authorized Representative”) is hereby
             authorized and directed, on behalf of the Company, to execute the Petition and/or authorize the
             execution of a filing of the Petition by the Company and to cause the same to be filed with the
             Bankruptcy Court at such time as the Authorized Representative considers appropriate;

                     RESOLVED FURTHER, that the Authorized Representative shall be, and hereby is,
             authorized, directed, and empowered on behalf of and in the name of the Company to execute,
             verify, and cause to be filed such requests for relief from the Bankruptcy Court as the Authorized
             Representative may deem necessary, proper, or desirable in connection with the Petition, including
             any supporting declarations;

                      RESOLVED FURTHER, that the Authorized Representative is authorized to execute and
             file on behalf of the Company all petitions, schedules, lists, and other motions, papers, or
             documents, and to take any and all action that it deems necessary or proper to obtain appropriate
             relief for the Company, including, without limitation, any action necessary to maintain the ordinary
             course operation of the Company’s business;

                    RESOLVED FURTHER, that the law firm of Goldstein & McClintock LLLP shall be, and
             hereby is, employed as general bankruptcy counsel for the Company in the Company’s chapter 11
             case;

                     RESOLVED FURTHER, that the Authorized Representative, and any employees or agents
             (including counsel) designated by or directed by such Authorized Representative, shall be, and
             each hereby is, authorized and empowered to cause the Company to enter into, execute, deliver,
             certify, file, record, and perform such agreements, instruments, motions, affidavits, applications
             for approvals or rulings of governmental or regulatory authorities, certificates, or other documents,
             and to take such other actions as, in the judgment of such Authorized Representative, shall be
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             necessary, proper, and desirable (i) to prosecute to a successful completion the Company’s chapter
             11 case, (ii) to effectuate the restructuring of the Company’s debt and other obligations,
             organizational form and structure, and ownership of the Company and its assets, consistent with
             the foregoing resolutions, and (iii) to carry out and put into effect the purposes of and the
             transactions contemplated by the foregoing resolutions; and

                     RESOLVED FURTHER, that all actions heretofore taken by the Authorized
             Representative or of the Company in connection with or otherwise in contemplation of the
             transactions contemplated by any of the foregoing resolutions be, and hereby are, ratified,
             confirmed, and approved.

                     IN WITNESS WHEREOF, the undersigned has executed this action by written consent as
             of the date first written above.

             ROBERTS 50 USA LLC

                     By: BOB’S EMS HOLDINGS LLC


                           ________________________
                           By: Jason Peterson
                           Its: Manager




                                                                     2
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 Fill in this information to identify the case:
 Debtor name Mountain Sports LLC
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ALTRA, INC.                                                                                                                                                   $108,393.42
 VF OUTDOOR LLC
 13911 COLLECTION
 CENTER DR
 Chicago
 60693-0139
 AMER SPORTS                                                                                                                                                   $195,562.77
 WINTER &
 OUTDOOR
 COMPANY
 P.O. BOX 3141
 CAROL STREAM
 60132-3141
 BLACK DIAMOND                                                                                                                                                 $193,843.29
 EQUIPMENT,
 PO BOX 734175
 DALLAS
 75373-4175
 COTOPAXI/GLOBAL                                                                                                                                               $148,752.96
 UPRISING, PBC
 DEPT # 880666
 PO BOX 29650
 Phoenix
 85038-9650
 GOOGLE LLC                                                                                                                                                    $108,122.05
 PO BOX 883654
 LOS ANGELES
 90088-3654
 GREGORY                                                                                                                                                       $155,013.95
 MOUNTAIN
 PRODUCTS
 SAMSONITE LLC
 DEPT CH 19296
 PALATINE
 60055-9296




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Mountain Sports LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 MARMOT                                                                                                                                                        $353,647.76
 MOUNTAIN
 INTERNATI
 P.O. BOX 915170
 DALLAS
 75391-5170
 MOUNTAIN                                                                                                                                                      $125,937.68
 SHADES, INC.
 11931 1-70
 NORTHRIDGE RD.
 NO.
 WHEAT RIDGE
 80033
 NORTH FACE                                                                                                                                                    $322,581.52
 VF OUTDOOR, INC.
 13911
 COLLECTIONS
 CENTER DR.
 CHICAGO 60693
 OBOZ FOOTWEAR                                                                                                                                                 $432,147.30
 LLC
 PO BOX 18427
 PALATINE
 60055-8427
 ON INC                                                                                                                                                        $125,695.71
 PO BOX 734250
 Chicago
 60673-4250
 OUTDOOR                                                                                                                                                       $128,803.84
 RESEARCH, INC.
 LB 1216
 PO BOX 35146
 SEATTLE
 98124-5146
 PFE EXPRESS LTD                                                                                                                                               $110,049.20
 FOREMOST HOUSE
 WATERSIDE
 BUSINESS PARK,
 EASTWAYS
 WITHAM, EN CM8
 3PL
 PRANA, INC.                                                                                                                                                   $111,138.75
 PO BOX 205470
 DALLAS
 75320-5470
 SMARTWOOL                                                                                                                                                     $455,290.88
 CORPORATION
 VF OUTDOOR INC
 13911
 COLLECTIONS
 CENTER DRIVE
 CHICAGO 60693


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 Debtor    Mountain Sports LLC                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 STEEL                                                                                                                                                         $206,040.44
 TECHNOLOGY LLC
 HYDRO FLASK
 PO BOX 741037
 LOS ANGELES
 90074-1037
 THULE INC                                                                                                                                                     $176,616.75
 PO BOX 358105
 PITTSBURGH
 15251-5105
 VUORI INC                                                                                                                                                     $118,187.78
 5600 AVENIDA
 ENCINAS, SUITE
 100
 ATTN: ACCOUNTS
 RECEIVABLE
 CARLSBAD 92008
 WOLVERINE                                                                                                                                                     $158,869.84
 WORLD WIDE, INC.
 25759 NETWORK
 PLACE
 CHICAGO
 60673-1257
 YELL STEEL                                                                                                                                                    $472,335.00
 ENTERPRISE, INC
 17848 SKY PARK
 CIRCLE
 SUITE A
 IRVINE 92614




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
MOUNTAIN SPORTS LLC
                    Case 24-11385-MFW   Doc 1 Filed 06/18/24
                                  ALPHA DELTA, INC.
                                                               Page APPALACHIAN
                                                                    11 of 19    MTN CLUB
160 CORPORATE CT                  50 REDFIELD STREET               ATTN ALEXANDRA MOLNAR
MERIDEN, CT 06450                 SUITE #301                       10 CITY SQUARE
                                  BOSTON 02122                     BOSTON 02129
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MARIA APRILE SAWCZUK              ALPHA ELEVATOR COMPANY           APTOS LLC
GOLDSTEIN & MCCLINTOCK LLLP       87 STATE STREET                  DEPT CH17281
111 W WASHINGTON STREET           #1278                            5505N, CUMBERLAND AVE., SUITE
                                                                                               30
SUITE 1221                        MONTPELIER 05601                 CHICAGO 60656-1471
CHICAGO, IL 60602

1513 IYANNOUGH LLC                ALPINE START                     B SAFE, INC
C/O KELLER CO.                    PO BOX 7070                      PO BOX 821349
1436 IYANNOUGH ROAD SUITE 4       BOULDER 80306                    PHILADELPHIA 19182-1349
HYANNIS 02601


3-D LIGHTING                      ALPINECHO                        BACKPACKER'S PANTRY INC
235 COTTAGE STREET                PO BOX 275                       6350 GUNPARK DRIVE
FRANKLIN 02038                    LAPORTE 80535                    BOULDER 80301-3337




3N-SB, LLC                        ALTRA, INC.                      BARKER SPECIALTY
1815 CENTRAL PARK DR              VF OUTDOOR LLC                   27 REALTY DRIVE
SUITE 100 PMB 362                 13911 COLLECTION CENTER DR       CALLER BOX 222
STEAMBOAT SPRING 80487            CHICAGO 60693-0139               CHESHIRE 06410


4927 - MNH MALL, LLC              ALZHEIMER'S ASSOCIATION          BARN DOOR SCREEN PRINTERS
14184 COLLECTIONS CENTER DR.      48 PEAKS                         PO BOX 1199
CHICAGO 60693                     320 NEVADA ST, SUITE 201         56 PLEASANT STREET
                                  NEWTON 02460                     CONWAY 03818


ADIRONDACK MOUNTAIN CLUB          AMER SPORTS WINTER & OUTDOOR COMPANY
                                                                BARONET COFFEE
814 GOGGINS ROAD                  P.O. BOX 3141                 701 MARSHALL PHELPS ROAD
LAKE GEORGE 12845                 CAROL STREAM 60132-3141       WINDSOR 06095




ADT COMMERCIAL                    AMERICAN SIGN, INC               BASSETT DIRECT NC, LLC
PROTECTION ONE                    614 FERRY STREET                 ATTN: SHARON CARROW
P.O. BOX 872987                   NEW HAVEN 06513                  PO BOX 626
KANSAS CITY 64187-2987                                             BASSETT 24055


ALL STAR PAINTING                 AMHERST CROSSING AMA REALTY VENTURES
                                                                BIG AGNES,
                                                                       LLC INC.
182 PLAIN HILL RD                 PO BOX 262                    P O BOX 773072
NORWICH 06360                     NORWOOD 02062                 STEAMBOAT SPRINGS 80487-5007




ALLIED PRINTING SERVICES INC      ANSHAN GREEN APPLE STATIONERY CO.,
                                                                 BIOLITE
                                                                     LTD. INC.
PO BOX 850                        NO.5 YONGNING ROAD,            FILE 2366
MANCHESTER 06045-0850             TIEXI DISTRICT,                1801 W. OLYMPIC BLVD.
                                  ANSHAN, LIAONING, CHINA. 11401 PASADENA 91199-2366
                      Case 24-11385-MFW
BLACK DIAMOND EQUIPMENT,
                                          Doc 1 Filed 06/18/24
                                    CANTON R2G OWNER LLC
                                                                    Page COLUMBIA
                                                                         12 of 19 SPORTSWEAR CO.
PO BOX 734175                       PO BOX 30344                        PO BOX 935641
DALLAS 75373-4175                   BOSTON 33630                        ATLANTA 31193-5641




BLACK DIAMOND GROUP, INC            CASCADE DESIGNS, INC.               COMCAST # 8773 20 201 007882
300 TRADE CENTER                    29383 NETWORK PL.                   PO BOX 1577
SUITE 5550                          CHICAGO 60673-1293                  NEWARK 07101-1577
WOBURN 01801


BLANK ROME LLP                      CASCO BAY ELECTRIC LLC              COMMERCIAL ASSET PRESERVALL
130 N. 18TH STREET                  322 PRESUMPSCOT STREET              220 E MORRIS AVE
ATTN: CHRISTOPHER MANION            PORTLAND 04103                      SALT LAKE CITY 84115
PHILADELPHIA, PA 19103


BODYGLIDE                           CASELLA WASTE SYSTEMS, INC          CONTRACT DATASCAN
1600 - 124TH AVENUE                 PO BOX 1372                         2941 TRADE CENTER DR
SUITE G                             WILLISTON 05495-1372                SUITE 100
BELLEVUE 98005                                                          CARROLITON 75007


BRANCHES, LLC                       CASHCONNECT                         CONTROL GROUP COMPANIES, LL
812 PROSPECT COURT                  A DIVISION OF WSFS BANK             FILE 2484
OSCEOLA 54020-8163                  700 PRIDES CROSSING. STE. 304       1801 W OLYMPIC BLVD
                                    NEWARK 19713                        PASADENA 91199-2484


BRIDGEWATER TOWNSHIP                CDW DIRECT,LLC                      CONWAY DAILY SUN
OFFICE OF THE FIRE MARSHAL          PO BOX 75723                        PO BOX 1940
100 COMMONS WAY                     CHICAGO 60675-5723                  64 SEAVEY ST.
BRIDGEWATER 08807                                                       N. CONWAY 03860


BROOKS SPORTS, INC.                 CH REALTY VIII/R BOSTON MIDDLESEXCONWAY
                                                                      MARKET POLICE DEPARTMENT
PO BOX 94353                        C/O WINSLOW PROPERTY MANAGEMENT  POINC
                                                                         BOX 538
SEATTLE 98124-6653                  800 HAYDEN AVE                   35 E CONWAY RD REDSTONE
                                    LEXINGTON 02421                  CENTER CONWAY 03813


BUFF, INC.                          CHANNELADVISOR CORPORATION          COTOPAXI/GLOBAL UPRISING, PB
P O BOX 884923                      LOCKBOX W-502057                    DEPT # 880666
LOS ANGELES 90088-4923              PO BOX 7777                         PO BOX 29650
                                    PHILADELPHIA 19175-2057             PHOENIX 85038-9650


CAMELBAK PRODUCTS LLC               CHRISTIANE JONCAS                   COUNTY OF BUCKS
PO BOX 734148                       250 RUE DE NANTES                   BUCKS COUNTY WEIGHTS & MEA
CHICAGO 60673-4148                  LAVAL, CANADA H7G 2J8               55 E. COURT STREET - 2ND FLO
                                                                        DOYLESTOWN 18901


CAMP USA                        CLIF BAR & COMPANY                      CTR POWERHOUSE, LLC
C/O UNICREDIT SPA, NEW YORK BRANCH
                                P.O. BOX 742065                         85 MECHANIC STREET
150 EAST 42ND STREET            LOS ANGELES 90074-2065                  SUITE 140
NEW YORK 10017                                                          LEBANON 03766
DANIEL CRAFFEY
                    Case 24-11385-MFW    Doc 1 Filed 06/18/24
                                  ENGIE INSIGHT
                                                                Page GRAPHCMS
                                                                     13 of 19 GMBH
ALC LLC                           PO BOX 74008380                   DIRCKSENSTR 47
PO BOX 704                        CHICAGO 60674-8380                BERLIN,BERLIN
HARRISON 04040


DEUTER USA                        ENO PAYABLES                    GREAT EASTERN RADIO/ WXXK-
2511 55TH ST.                     EAGLE'S NEST OUTFITTERS         PO BOX 266
SUITE 100                         601 SWEETEN CREEK, INDUSTRIAL PARK
                                                                  CLAREMONT
                                                                     RD.     03743
BOULDER 80301                     ASHEVELLE 28803


DO-GREE FASHIONS USA              EQUIP OUTDOOR TECHNOLOGIES USA GREGORY MOUNTAIN PRODUCTS
7075 PLACE ROBERT-JONCAS          1699 CHERRY STREET             SAMSONITE LLC
SUITE 118                         UNIT A                         DEPT CH 19296
MONTREAL, CANADA H4M 2Z2          LOUISVILLE 80027               PALATINE 60055-9296


DOOR CONTROL, INC                 EXPED LLC                         GU ENERGY LABS
8 DELTA DRIVE                     1142 BROADWAY                     DEPT LA 24970
UNIT D                            SUITE 400                         PASADENA 91185-4970
LONDONDERRY 03053                 TACOMA 98402-3500


DRAGONFLY VENTURES GROUP $        FABRITECH                         GWB FREEPORT LLC
3A HOLYWELL HILL                  6719 PINE RIDGE CT                C/O BOULOS ASSET MANAGEMEN
ST. ALBANS, UK AL1 1ER            JENISON 49428                     100 MIDDLE STREET, EAST TOWE
                                                                                               23
                                                                                               -S
                                                                    PORTLAND 04101


DYNAMIC WEB SOURCE, INC (AKA AVANTLINK)
                               FRM SOCKS LLC DBA FOX RIVER MILLS
                                                             HANGZHOU REMAGY TRADING C
PO BOX 35146                   PO BOX 7267                   ROOM 2103, SME MANSION
SEATTLE 98124-5146             CAROL STREAM 60197-7267       NO 553, WENSAN ROAD
                                                             HANGZHOU, CHINA


ECONOCO CORPORATION               G&I IX EMPIRE TOPS PLAZA ITHACA LLC
                                                                   HAWAII COMMUNITY FOUNDATIO
SELLUTIONS BY ECONOCO             BOX 8000 DEPT 553                827 FORT STREET
PO BOX 100                        TENANT 425-005285                HONOLULU 96813
HICKSVILLE 11802                  BUFFALO 14267


EDDY PLAZA ASSOCIATES             GOOD TO-GO LLC                    HELINOX USA INC.
C/O SOUTH MIAMI PROPERTIES,INC    484 US ROUTE 1                    2560 NINTH STREET
PO BOX 41468                      KITTERY 03904                     SUITE 320
PROVIDENCE 02940                                                    BERKELEY 94710


EN-R-G FOODS, INC.                GOODHEW, LLC                      HELLY HANSEN
DEPT. 1557                        P.O. BOX 306174                   DEPT CH 19576
PO BOX 30106                      NASHVILLE 37230-6174              PALATINE 60055-9576
SALT LAKE CITY 84130-0106


ENCORE FIRE PROTECTION            GOOGLE LLC                        HILCO WHOLESALE SOLUTIONS LL
70 BACON STREET                   PO BOX 883654                     5 REVERE DRIVE
PAWTUCKET 02860                   LOS ANGELES 90088-3654            SUITE 206
                                                                    NORTH BROOK 60062
HOKA ONE ONE
                      Case 24-11385-MFW   Doc 1 Filed 06/18/24
                                    KISMET ROCK FOUNDATION
                                                                 Page LOOMIS
                                                                      14 of 19
DECKERS CORP                        PO BOX 1744                       DEPT. CH 10500
PO BOX 8424                         NORTH CONWAY 03860                PALATINE 60055-0500
PASADENA 91109


IGNIK OUTDOORS, INC.                LA SPORTIVA USA, INC.             LOWA BOOTS
403 MADISON AVE. NORTH              3850 FRONTIER AVENUE              PO BOX 595
SUITE 240                           SUITE 100                         FARMINGTON 06034-0595
BAINBRIDGE ISLAND 98110             BOULDER 80301-2795


IMPLUS CORP.                        LAKE PLACID PARTNERS              LUXOTTICA OF AMERICA, INC
P.O. BOX 679394                     C/O PRUDENTIAL REALTY CO          PO BOX 100444
DALLAS 75267-9394                   3700 S.WATER ST.,STE 100          ATLANTA 30384-0444
                                    PITTSBURGH 15203


J&B IMPORTERS, INC                  LANE IP LIMITED                   MACERICH HHF CENTERS LLC
P O BOX 281528                      2 THROGMORTON AVENUE              MACERICH DEPTFORD LLC
ATLANTA 30384-1528                  UK EC2N 2DG                       PO BOX 511315
                                                                      LOS ANGELES 90051-7870


JACKSON LEWIS P.C.                  LARC ASSET MANAGEMENT AND REALTY,
                                                                  MAINE
                                                                      INC.AMA REALTY VENTURES,LL
P O BOX 416019                      C/O LAMAR COMPANIES           PO BOX 262
BOSTON 02241-6019                   695 US ROUTE 46, SUITE 210    NORWOOD 02062
                                    FAIRFIELD 07004


JDS ELECTRIC LLC                    LEATHERMAN TOOL GROUP             MANCHESTER POLICE DEPT.
170 RESEARCH PARKWAY UNIT# 3        P.O. BOX 20595                    60 JEFF WILLIAMS WAY
MERIDEN 06450                       PORTLAND 97220-0595               MANCHESTER CENTER 05255




JEBCOMMERCE LLC                     LEKI USA                          MARK BRIC INC.
PO BOX 3050                         458 SONWIL DRIVE                  4740 CHUDOBA PARKWAY
COEUR D'ALENE 83816                 BUFFALO 14225-5530                PRINCE GEORGE 23875




JETBOIL, INC.                       LEVIN MANAGEMENT CORP.            MARMOT MOUNTAIN INTERNATI
JOHNSON OUTDOORS, INC.              P.O. BOX 326                      P.O. BOX 915170
3635 SOLUTIONS CENTER               ACCT # 87066                      DALLAS 75391-5170
CHICAGO 60677-3006                  PLAINFIELD 07061


KEEN, INC.                          LIBERTY MOUNTAIN SPORTS           MAUI JIM SUNGLASSES
PO BOX 742937                       BOX NUMBER 880370                 PO BOX 203861
LOS ANGELES 90074-2937              P O BOX 29650                     DALLAS 75320-3861
                                    PHOENIX 85038-9650


KETER ENVIRONMENTAL SERVICES        LIFE SAFETY FIRE PROTECTION,IN    MCKINNEY CONSTRUCTION, LLC
P.O. BOX 417468                     97 LOWER JAFFREY ROAD             PO BOX 392
BOSTON 02241-7468                   DUBLIN 03444                      STAFFORD SPRINGS 06076
                   Case 24-11385-MFW
MEGHAN KELLY DESIGNS
                                       Doc 1 Filed 06/18/24
                                 NESTL USA, INC.
                                                                Page OBOZ
                                                                     15 of 19
                                                                           FOOTWEAR LLC
145 PURITAN ROAD                 PO BOX 3637                        PO BOX 18427
FAIRFIELD 06824                  BOSTON 02241-3637                  PALATINE 60055-8427




MIDDLEGATE FACTORS               NIKWAX USA                         OLUKAI, LLC.
8 WEST 40TH STREET               5101 14TH AVENUE NW                DEPT LA 24237
NEW YORK 10018                   #401                               PASADENA 91185
                                 SEATTLE 98107


MILBERG FACTORS, INC             NITCO, LLC                         ON BELAY INC
PO BOX 730718                    PO BOX 21918                       PO BOX 391
DALLAS 75373-0718                NEW YORK 10087-1918                NEWMARKET 03857




MOUNTAIN AND MAIN LLC            NITE IZE, INC.                     ON INC
DOUG THOMPSON                    PO BOX 913144                      PO BOX 734250
8 SPELLMAN DRIVE                 DENVER 80291-3144                  CHICAGO 60673-4250
NEW PALTZ 12561


MOUNTAIN HARDWEAR                NORTH CONWAY INCINERATOR SERVICE
                                                                ONIX NETWORKING CORPORATIO
P.O. BOX 935641                  164 HORSESHOE DR               PO BOX 74184
ATLANTA 31193-5641               CENTER CONWAY 03813            CLEVLAND 44194-0002




MOUNTAIN SHADES, INC.            NORTH CONWAY WATER PRECINCT        OPTERUS, INC
11931 1-70 NORTHRIDGE RD. NO.    PO BOX 630                         PO BOX 248
WHEAT RIDGE 80033                104 SAWMILL LANE                   UXBRIDGE, CANADA L9P 1B1
                                 NORTH CONWAY 03860


MT WASHINGTON VALLEY VIBE        NORTH FACE                         ORENDA WILDLIFE LAND TRUSTIN
WISEGUY CREATIVE MEDIA           VF OUTDOOR, INC.                   PO BOX 669
126 ALLENS SIDING ROAD           13911 COLLECTIONS CENTER DR.       W.BARNSTABLE 02668
NORTH CONWAY 03860               CHICAGO 60693


MWOBS                            NORTHWEST RIVER SUPPLIES,          OSPREY PACKS, INC
MOUNT WASHINGTON OBSERVATORY     1638 S BLAINE STREET               PO BOX 913157
PO BOX 9100                      MOSCOW 83843                       DENVER 80291-3157
BERLIN 03570-9100


NATIONAL GEOGRAPHIC MAPS,        OAK RIDGE HAULING, LLC             OTIS ELEVATOR COMPANY
P.O. BOX 749406                  PO BOX 1937                        P.O. BOX 13716
LOS ANGELES 90074-9406           DANBURY 06813-1937                 NEWARK 07188-0716




NESTER HOSIERY, LLC              OBERALP NORTH AMERICA              OTIS ELEVATOR COMPANY
PO BOX 936281                    DEPT. 1288                         PO BOX 73579
ATLANTA 31193-6281               DENVER 80256                       CHICAGO 60673-3579
                     Case 24-11385-MFW
OUTDOOR RESEARCH, INC.
                                         Doc 1 Filed 06/18/24
                                   PLAYNETWORK, INC.
                                                                Page RAKUTEN
                                                                     16 of 19 MARKETING LLC
LB 1216                            PO BOX 204515                    P.O. BOX 415613
PO BOX 35146                       DALLAS 75320-4515                BOSTON 02241-5613
SEATTLE 98124-5146


PACIFIC MARKET INTERNATIONAL, LLC PMI WW BRANDS LLC                 RED WING BRANDS OF AMERIC
P.O BOX 74008450                  PO BOX 7410933                    24062 NETWORK PLACE
CHICAGO 60674-8450                LOCK BOX# 10933                   CHICAGO 60673-1240
                                  CHICAGO 60674


PAGE STREET LEASING LLC            PNC BANK, NATIONAL ASSOCIATION   REGENCY CENTERS, L.P.
PO BOX 129                         300 FIFTH AVE.                   DANBURY SQUARE, LOCKBOX 83
CANDIA 03034-0129                  FLOOR 14                         525 FELLOWSHIP ROAD, SUITE 3
                                   ATTN: RALPH MIELNIK              MT. LAUREL 08054-3415
                                   PITTSBURGH, PA 15222

PATRIOT PLUMBING & HEATING         PRANA, INC.                      REPUBLIC SERVICES #095
35 INDUSTRIAL DRIVE                PO BOX 205470                    FOR AWS OF MASSACHUSETTS, LL
CANTON 02021                       DALLAS 75320-5470                PO BOX 9001099
                                                                    LOUISVILLE 40290-1099


PC CONNECTION SALES CORP           PRIMAVERA ING, S.A.               RESOURCE ENERGY SYSTEMS,L
PO BOX 536472                      6A AVENIDA 12-14 COLONIA LANDIVER ZONA
                                                                     PO BOX
                                                                          7 415973
PITTSBURGH 15253-5906              GUATEMALA CITY 01007              BOSTON 02241-5973




PENNICHUCK WATER                   PRODCO ANALYTICS INC.            RETAIL TECH INC
PO BOX 428                         9408 BOULEVARD DU GOLF           8600 SHELBY COURT
NASHUA 03061-0428                  CANADA H1J 3A1                   SUITE 200
                                                                    CHANHASSEN 55317


PETZL AMERICA                      PROSEGUR EAS USA, LLC            RETRIEVER WASTE MANAGEMEN
PO BOX 35143                       CL600112                         P.O. BOX 429
LB 413039                          PO BOX 24620                     ESSINGTON 19029
SEATTLE 98124-5143                 WEST PALM BEACH 33416


PFE EXPRESS LTD                 R.K. PORTSMOUTH, LLC                RICOH USA, INC.
FOREMOST HOUSE                  ATTN MARY CLAIRE KILEY              P.O. BOX 827577
WATERSIDE BUSINESS PARK, EASTWAYS
                                50 CABOT STREET SUITE 200           PHILADELPHIA 19182-7577
WITHAM, EN CM8 3PL              NEEDHAM 02494


PHD PRODUCTIONS                    RACCOON EVENTS INC               ROSENTHAL & ROSENTHAL
2 HARVARD CT.                      70 W MADISON ST, STE 5750        P.O. BOX 88926
ROCKVILLE 20850                    CHICAGO 60602                    CHICAGO 60695-1926




PHOENIX LITHOGRAPHING CORPORATION
                               RAE SECURITY, INC (TX)         ROSSIGNOL GROUP
11631 CAROLINE ROAD            7102 W. SAM HOUSTON PKWY NORTH P.O. BOX 850249
PHILADELPHIA 19154             SUITE 100                      MINNEAPOLIS 55485-0249
                               HOUSTON 77040
RUFFWEAR
                      Case 24-11385-MFW   Doc 1 Filed 06/18/24
                                    SMITH SPORT OPTICS, INC.
                                                                 Page STERLING,
                                                                      17 of 19 INC.
PO BOX 24902                        PO BOX 35144                     C/O SHERRILL INC
SEATTLE 98124-0902                  #43079                           496 GALLIMORE DAIRY RD, STE D
                                    SEATTLE 98124-5144               GREENSBORO 27409


RUMPL, INC                          SOCLEAN, INC                     STONYBROOK WATER COMPANY
PO BOX 103026                       12 VOSE FARM ROAD                11 BEACH STREET
PASADENA 91189-3026                 PETERBOROUGH 03458               MANCHESTER 01944




SANDERS FIRE & SAFETY               SODEXO, INC & AFFILIATES         STUYVESANT PLAZA RETAIL, LLC
PO BOX 739                          PO BOX 360170                    C/O WS ASSET MANAGEMENT, IN
CLIFTON PARK 12065                  PITTSBURGH 15251-6170            33 BOYLSTON STREET, SUITE 30
                                                                     CHESTNUT HILL 02467


SAVI SOLUTIONS INC                  SOLO BRANDS, LLC                 SUN COMPANY, INC.
1410 SOUTH 600 WEST                 PO BOX 736347                    4840 VAN GORDON STREET
WOODS CROSS 84010                   DALLAS 75373-6347                UNIT 1000
                                                                     WHEAT RIDGE 80033


SAWYER PRODUCTS                     SOURCECORP BPS, INC              SUNBELT RENTALS,INC.
P.O. BOX 188                        DEPT 9050                        PO BOX 409211
SAFETY HARBOR 34695-0188            PO BOX 676114                    ATLANTA 30384-9211
                                    DALLAS 75267-6114


SCREENTEK                           SPORT OBERMEYER                  SUPERFEET, LLC
130 WELTON STREET                   115 AABC                         1820 SCOUT PLACE
HAMDEN 06517                        ASPEN 81611                      FERNDALE 98248-8937




SEA TO SUMMIT NORTH AMERICA LLCSTANDARD INSURANCE COMPANY            SURBURBAN ELECTRIC CONTRAIN
12303 AIRPORT WAY              PO BOX 3789                           339 CANTON STREET
SUITE 300                      PORTLAND 97208-3789                   STOUGHTON 02072-2264
BROOMFIELD 80021


SHIPMATES PRINTMATES HOLDING CORP
                               STAPLES                               SWISS ARMY BRANDS DIV., I
VELOCITY                       500 STAPLES DR                        P.O. BOX 845362
705 CORPORATIONS PARK          FRAMINGHAM 01702                      BOSTON 02284-5362
SCOTIA 12302


SKI THE EAST LLC                    STEEL TECHNOLOGY LLC             TEACHERS INSURANCE AND AN
50 LAKESIDE AVE                     HYDRO FLASK                      ASSOCIATION OF AMERICA
SUITE 450                           PO BOX 741037                    P.O. BOX 416140
BURLINGTON 05401                    LOS ANGELES 90074-1037           BOSTON 02241-6140


SMARTWOOL CORPORATION               STERLING ROPE CO., INC.          TENDER CORP.
VF OUTDOOR INC                      26 MORIN ST.                     DBA ADVENTURE MEDICAL KITS
13911 COLLECTIONS CENTER DRIVE      BIDDLEFORD 04005                 944 INDUSTRIAL PARK ROAD
CHICAGO 60693                                                        LITTLETON 03561
TENDER CORPORATION
                    Case 24-11385-MFW   Doc 1 Filed 06/18/24
                                  TRADER JOE'S COMPANY
                                                               Page VISTA
                                                                    18 of 19
                                                                          OUTDOOR SALES LLC
944 INDUSTRIAL PARK ROAD          ATTN: TREASURER                  PO BOX 734151
LITTLETON 03561-3956              800 SOUTH SHAMROCK AVENUE        CHICAGO 60673-4151
                                  MONROVIA 91016-6346


THE FLYING LOCKSMITHS             UNIFIRST CORPORATION             VT FLOOD RESPONSE AND RECFU
1115 NORTH MAIN STREET            PO BOX 650481                    3 COURT STREET
RANDOLPH 02368                    DALLAS 75265-0481                MIDDLEBURY 05753




THE GREEN MOUNTAIN CLUB, INC      UNIVERSAL ENVIRONMENTAL          VUORI INC
4711 WATERBURY-STOWE ROAD         CONSULTING, INC.                 5600 AVENIDA ENCINAS, SUITE 1
WATERBURY CENTER 05677            PO BOX 346                       ATTN: ACCOUNTS RECEIVABLE
                                  CARLE PLACE 11514                CARLSBAD 92008


THE IMAGE PRESS                   UNTAPPED, LLC                    W/S HADLEY PROPERTIES II LLC
6333 DAEDALUS ROAD                PO BOX 2                         PO BOX 845007
CICERO 13039                      RICHMOND 05477                   BOSTON 02284-5007




THE SHOPPES AT WILTON, LLC        UPS                              WARSON GROUP, INC.
C/O MALY COMMERCIAL REALTY,INC    P.O. BOX 7247-0244               PO BOX 841140
213 N. STADIUM BLVD, SUITE 203    PHILADELPHIA 19170-0001          KANSAS CITY 64184-1140
COLUMBIA 65203


THREAD WALLETS LLC                UR ENERGY INC                    WELLS FARGO TRADE CAPITAL S
                                                                                             IN
125 W 500 S PROVO                 333 VALLEYBROOK AVE              P O BOX 911794
PROVO 84601                       LYNDHURST 07071                  DENVER 80291-1794




THULE INC                         US SHERPA                        WOLVERINE WORLD WIDE, INC.
PO BOX 358105                     235 MAIN STREET, SUITE 1         25759 NETWORK PLACE
PITTSBURGH 15251-5105             WINOOSKI 05404                   CHICAGO 60673-1257




TOAD & CO. INTERNATIONAL, INC     USDA - FOREST SERVICE            XL COLOR
PO BOX 737136                     C/O US BANK                      16 SOUTHWOOD ROAD
DALLAS 75373-7136                 PO BOX 6200-09                   BLOOMFIELD 06002
                                  PORTLAND 97228-6200


TOPO ATHELTIC                     VFI                              YELL STEEL ENTERPRISE, INC
1 GRANT STREET                    27655 MIDDLEBELT ROAD            17848 SKY PARK CIRCLE
SUITE 150                         SUITE 150                        SUITE A
FRAMINGHAM 01702                  FARMINGTON, MI 48334             IRVINE 92614


TOWN OF HADLEY                    VFI KR SPE I LLC                 YESCO SIGN AND LIGHTING
100 MIDDLE STREET                 LOCKBOX #6021                    RIVERFRONT PLACE
HADLEY 01035                      P.O. BOX 5241                    322 WEST MAIN STREET UNIT #1
                                  DENVER, CO 80217-5241            TILTON 03276
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                                        United States Bankruptcy Court
                                                  District of Delaware
 In re   Mountain Sports LLC                                                        Case No.
                                                           Debtor(s)                Chapter    11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Mountain Sports LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Roberts 50 USA LLC
160 Corporate Ct
Meriden, CT 06450




 None [Check if applicable]




June 18, 2024                                  /s/ Maria Aprile Sawczuk
Date                                           Maria Aprile Sawczuk
                                               Signature of Attorney or Litigant
                                               Counsel for Mountain Sports LLC
                                               Goldstein & McClintock LLLP
                                               501 Silverside Road
                                               Suite 65
                                               Wilmington, DE 19809
                                               302-444-6710 Fax:302-444-6709
                                               marias@goldmclaw.com
